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                                     EXHIBIT A

                                   (Proposed Order)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                   Debtors. 1                          (Jointly Administered)

                                                                       Re Docket No. 142

            ORDER (I) APPROVING KEY EMPLOYEE INCENTIVE PLAN FOR
             SENIOR LEADERSHIP EMPLOYEES AND (II) APPROVING KEY
            EMPLOYEE RETENTION PLAN FOR NON-INSIDER EMPLOYEES

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order (this “Order”),

pursuant to Bankruptcy Code sections 105(a), 363(b), and 503(b) and (c)(3) and Bankruptcy Rule

6004 (i) approving key employee incentive program (the “KEIP”) for twelve Senior Leadership

Employees (as defined below) and (ii) approving a key employee retention program (the “KERP”)

for seventy-eight Non-Insider Employees, all as more fully set forth in the Motion; and upon

consideration of the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.

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§§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at an interim hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The terms of the Debtors’ proposed KEIP and KERP, attached hereto as Exhibit 1

and Exhibit 2, respectively, are approved.

        2.       The Debtors are authorized, but not directed, to make any and all payments to the

Senior Leadership Employees under the KEIP and Non-Insider Employees under the KERP if the

applicable condition(s) for any such respective payments are met, as described in the Motion.

        3.       The Debtors must provide notice to the Official Committee of Unsecured Creditors

(the “Committee”) for (i) any modifications to the KEIP and KERP and (ii) for any payments

distributed pursuant to the KEIP and KERP.

        4.       This Order shall be binding upon any successors and assigns of the Debtors,

including any trustee appointed in these Chapter 11 Cases or in any superseding proceeding under

chapter 7 of the Bankruptcy Code.

        5.       This Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the interpretation, implementation, or enforcement of this Order.




                                                 2
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                                                 Exhibit 1 to Order

                                      Key Employee Incentive Plan Term Sheet

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                                      Exhibit 2 to Order
                             Key Employee Retention Plan Term Sheet

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